



                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       




NO. 3-92-564-CR




HENRY McARTHUR,



	APPELLANT


vs.




THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT



NO. 105,679, HONORABLE BOB JONES, JUDGE PRESIDING


                       




PER CURIAM


	This is an appeal from an order of the trial court revoking probation.  Punishment
was assessed at confinement for six years and $1,000 fine.

	Appellant has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. 59(b).



[Before Justices Powers, Aboussie and B. A. Smith]

Dismissed on Appellant's Motion

Filed:  January 27, 1993

[Do Not Publish]


